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                          UNITED STATES DISTRICT CO URT
                          SOUTHERN DISTRICT O F FLO RIDA
                          Case No.18-20539-CIV-W ILLIAM S

  DR.KURT MARIN,efa/.,

        Plaintiffs,

  VS.

  DADE CO UNTY,etaI.,

        Defendant.
                                                   /

                                         O RDER
        THIS MATTER is before the Coud on Plaintifrs ''M otion to Reconsider''the Coud's

  February 21,2018 orderdismissing thiscase. (DE 6). Underthe FederalRules ofCivil
  Procedure, the only grounds for granting a m otion for reconsideration are ''new ly

  discovered evidence or manifesterrors of Iaw orfact.'' ArthurB.King,500 F.3d 1335,

  1343(11thCir.2007)(quoting InreKellogg,197 F.3d 1116,1119 (11thCir.1999)).Such
  m otions 'lcannotbe used to relitigate oId matters,raise argum entorpresentevidence that

  could have been raised priorto the entryofjudgment.' Id.(quoting MichaelLinet,Inc.v.
  Vill.ofW ellington,Fla.,408 F.3d 757,763 (11th Cir.2005)).
        Plaintiff's m otion forreconsideration argues thatthe Court's orderis 'A BSO LUTE

  REAL RACISM because other East Indians W hites Iost in County Courts and sued in

  FederalCoud and won. Butus Black People can'tdo the samé thing.' (DE 6 at1).The
  filing goes on to assed ''
                           w e have notfailed to state a claim ''and to contestthe Coud's

  jurisdictionaldeterminationasto certainstate-coud matters.None ofthese argumentsor
  citations to the originalcom plaint state a basis forreconsideration ofthe Coud's order
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 underthe FederalRules. Therefore,Plaintiff's motion forreconsideration (DE 6) is
 DENIED,and the case rem ains CLO SED.

         DO NE A ND O RDERED in chambers in M iam i,Florida,this     y of March,

 2018.


                                               KATHL EN M .W ILLIAM S
                                               UNITE STATES DISTRICT JUDGE



 cc:     Jam es Buckm an,Maurice Sym onette,Kud M arin,
         Clyde M cphatter,Alfred David,and Jerim iah Parham
         3320 NE 165thStreet
         M iam i,FL 33160
